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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA
Vv. Case No. 1:18CR407

)
)
ALEKSANDR BROVKO, )
)
Defendant. )

)

SEALING ORDER

This matter having come before the Court on the defendant’s Motion to Seal
pursuant to Local Criminal Rule 49(E) and for good cause shown, the Court finds:

1, The defendant seeks to seal documents accompanying Defendant’s
Motion to Seal.

2. Sealing of this material is necessary in order to prevent disclosure of
information contained in the documents, including information that if disclosed,
would jeopardize an ongoing criminal investigation.

3. The Court has considered procedures other than sealing, but none will
suffice to protect the information subject to sealing.

4, The Court has the inherent power to seal materials submitted to it. See
United States v. Wuagneux, 683 F.2d 1343, 1351 (11th Cir. 1982); State of Arizona v.
Maypenny, 672 F.2d 761, 765 (9th Cir. 1982); Times Mirror Company v. United States,
873 F.2d 1210 (9th Cir. 1989); see also Shea v. Gabriel, 520 F.2d 879 (1st Cir. 1975);

United States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980); In re Braughton, 520 F.2d
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765, 766 (9th Cir. 1975). “The trial court has supervisory power over its own records
and may, in its discretion, seal documents if the public’s right of access is outweighed
by competing interests.” In re Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984).

5. The defendant requests that the pertinent material be sealed until
unsealed by order of the Court.

For the foregoing reasons it is hereby:

ORDERED that the defendant’s Motion to Seal is granted, and it is

FURTHER ORDERED that the documents accompanying Defendant’s Motion
to Seal shall be maintained under seal and will remain under seal until unsealed by
order of the Court, and it is

FURTHER ORDERED that the Clerk provide a copy of this Order to counsel
of record.

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ENTERED this day of October, 2022.

